           Case 2:07-cr-00348-MCE Document 32 Filed 12/07/07 Page 1 of 2


 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   NED SMOCK, Bar #236238
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   DARRON ANTJUAN REED
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,          ) No. CR-S-07-348 FCD
                                        )
11                    Plaintiff,        )
                                        ) STIPULATION AND ORDER
12        v.                            )
                                        )
13   DARRON ANTJUAN REED, and           )
     DERRICK CHASE.                     )
14                                      )
                                        )
15                  Defendants.         )
     _______________________________
16
          IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their respective counsel, Philip Ferrari, Assistant United States
18
     Attorney, attorney for Plaintiff; and Ned Smock, Assistant Federal
19
     Defender, attorney for Darron Antjuan Reed, that Mr. Reed’s conditions
20
     of release should be amended to read as follows:
21
          9.   You shall, in accordance with this release order, have a Home
22             Monitoring Unit installed in your residence, a radio frequency
               transmitter device attached to your person, and shall comply
23             with all instructions for the use and operation of said
               devices as given to you by the Pretrial Services Agency and
24             employees of the monitoring agency. The defendant's curfew is
               to be determined by Pretrial Services.
25
          The reason for this change is that the initial conditions of
26
     release did not specify the type of monitoring program Mr. Reed would
27
     be subject to.   The Court ordered that Mr. Reed be subject to a curfew.
28
           Case 2:07-cr-00348-MCE Document 32 Filed 12/07/07 Page 2 of 2


 1   United States Pretrial Officer Gina Faubian contacted counsel
 2   requesting that this stipulation be filed in order to clarify that Mr.
 3   Reed is not subject to home detention, but is instead subject to a
 4   curfew which is monitored by Ms. Faubian.
 5
 6   Dated: December 6, 2007                Respectfully submitted,
 7                                          DANIEL BRODERICK
                                            Federal Defender
 8
 9                                               /S/NED SMOCK
                                            NED SMOCK
10                                          Assistant Federal Defender
                                            Attorney for Defendant
11                                          DARRON ANTJUAN REED
12
                                            MCGREGOR W. SCOTT
13                                          United States Attorney
14
                                            /s/Ned Smock for PHILIP FERRARI
15                                          PHILIP FERRARI
                                            Assistant U.S. Attorney
16
17
                                          ORDER
18
19        Condition Number 9 of Defendant Reed’s Conditions of Release is
     hereby modified to read as follows:
20
          9.   You shall, in accordance with this release order, have a Home
21             Monitoring Unit installed in your residence, a radio frequency
               transmitter device attached to your person, and shall comply
22             with all instructions for the use and operation of said
               devices as given to you by the Pretrial Services Agency and
23             employees of the monitoring agency. The defendant's curfew is
               to be determined by Pretrial Services.
24
25        IT IS SO ORDERED.
26   DATED: December 6, 2007.
27
28


                                            2
